Case 01-01139-AMC, Doc 4019-8 Filed 07/08/03 Page 1 of 25
CONFIDENTIAL

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03637747

Cc. Yang

A.
YW,

L. Oliverio/Libby

J.
G.
F.
“H.

Brown
Wolter

Kujawa/Libby
Vaplon/Libby
Stewart/Enoree
Locke\ |

J.

PURPOSE

“Le Young
File: 71-0h8

CAMBRIDGE

DATE:

SUBJECT:

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February 23, 1976 ot

Libby Ore Evaluation -

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The objective of this investigation is to determine the trefiolite
‘content for each of the thrée mill circuits and end broducts at Libby.

SAMPLE SELECTION

Samples have been collected by G. Vaplon:

(a) material which entered the circuit,
(b) material which came out of the- circuit,
(c) screened vlant products as control and comparison with fa) & (b).

, Fourteen materials were received:

-” EXPERIMENTAL:

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(1)

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Nae et elt Sl ese Nn act el er Sot Nat lt Nanet

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I} Humphrey Sizer

Clean Conc:
- Rough Cone.
Rough Conc.
Clean Conc.’
Rough Feed
Clean Feed
Rough Feed
Clean Feed

#2 Composite |

#2 Composite
#3 Composite
#4 Composite
#5 Composite

8 x 20
8 x 20
20 x 65
20 x 65
8 x 20
8 x 20

20 x 65 -

20 x 65

Humphrey Sizer Concrete

1. Separation

12/3/75

9:00 a.m.

The rock and fiber were separated from the vermiculite plates
by hand-picking.

2. Method of Analysis

Each portion has been weighed carefully and then x-rayed for
their mineral content.

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Case OE AM Doc 4019-8 Filed 0708/03 Page 2 of 25
-2-
Jo: H.C. Duecker | . . Libby Ore Evaluation -
From: Julie C. Yang Ore Impurities
Feb. 23, 1976 .

CS6L'7748
3. Results and Accuracy
__Wt. Accuracy 4%
. #
Vermiculite 86.71 86.71 + 0.43 approx.
7 . %
Rock 10.58 10.58 + 0.05 approx.
Tremolite 2.71 2.71 +.0.01
Total 100.00 -

‘ane rock content may be higher than the figure shown at the
expense of vermiculite, since some of the granules can be classi-
_ fied as vermiculite fine aggregates (showed vermiculite x-ray —
pattern) but may not be expandable as we previously found (report
11/3/75 -. Properties of Libby Vermiculite Ore}. The fiber portion.
_ showed a good x-ray pattern of pure tremolite with no rock contami-
nations, .

IT) 8 x 20 Circuit and End Products #1, 2 & 3
a. Separation

The samples in this group were sized by ko-Tap screening to +50 und
~50 fractions. 100 gram vermiculite sample was’ Ro-Tapped for 16 minutes ~
_ total, a ten minute increment first,then three @-min.consecutive intervals
to insure the achievement of constant weights. .

. Then from the +50 size fractions, fibers were hand-picked and
weighed. The bulk materials reraining were then chemically expanded with
304 Ho0> individually. The light expanded vermiculite thus was separated
from the heavy rocks and fiber bundles by water flotation. Both portions
were collected, dried and weighed, then ground to -100 mesh and subjected
to x-ray examination. :

2. Method of Analysis |

‘Tremolite remaining in the samples was determined by quantitative
' x-ray, diffraction analysis, and the values were added.to those of the
hand-picked tremolite. In quantitative x-ray analysis a calibration
curve. was constructed to determine tremolite by adding a known amount of
Libby tremolite (hand-picked from #2 composite, opened and cleaned) to
& hand-picked pure vermiculite sample. The curve was made for determina-
tions up to 10% tremolite.

The total area under the 2@= 28.5° in the diffraction pattern,
the peak responded to the max intensity. peak of tremolite, was commuted
for the quantitative studies, and a second peak (height only-at 2@=

10.5°) was employed as a check for the interference (Figure 1}

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'To:
From:

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Case 01-91139-AMC Doc 4019-8 Filed 0708/03 Page 3 of 25

H. C. Duecker ~* ~3- Libby Ore Evaluation -
Julie C. Yang a - Qre Impurities
Feb. 23, 1976 St

. 03637749
3. Result and Atcuracy of Analysis

Experimental results are listed in Table 1. Since the detection
limit of tremolite by x-rays is about 0, 2% in a specific sample, for
very low concentration occurence tremolite has to be concentrated in
the sample by removing the bulk of vermiculite, Vermiculite can be
removed easily by chemical expansion with 30 Hp02 followed by flota-
tion.

' On the chart, three tremolite contents (actually the range) were
given based on the detection limitations.

A, soupivtaon of Materiel from 8 x 20 Circuit and

End Products Composite #1, #2 and #3

The rock content of composites ‘H and #2 are inline with those

‘of the concentrates . in the 8x 20 circuit, but the tremlite content

in these: ‘composites are definitely higher then the. concentrates. The
exceptionally high tremolite content is noted in Composite #2. ‘The -
fiber contents in the 8 x 20 concentrates © are slightly iess than those
in the corresponding feeds.

20 x 65 Circuit and End Products Composites #4 and #5

1. Separation and Analysis

‘The samples in this group were sized by Ro-Tap screening to 3 |
fractions, namely +70, -70 +100 and -100 mesh size using the procedure
described in Section IT ,. :

In the +70 fraction of rough and clean concentrates, the fine
fibers present were balled up to pea-sized white balls, which were
separated by gentle screening. The fiber balls were retained on a 50
mesh screen and weighed. fo check the fiber content, the weighed fiber
balls were broken and redistributed in the sample and subjected to
quantitative x-ray determination. Since the fiber contents were very:
low, vermiculite in these samples were expanded. chemically and then
removed by flotation prior to x-ray analysis.

* In the -70 +100 and -100 mesh fractions, tremolite was determined
directly from the sample as. received; since the vermiculites present in

these sizes are fairly smell, the expansion and flotation will not sep-
arate the material effectively.

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From:

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Case C -AMC_ Doc 4019-8 Filed o7psios Page 4 of 25

H. €. Duecker : Libby Ore Evaluation -
Julie C. Yang Ore Impurities.

. Feb.. 23, 1976

2. Results and Accuracy 0263'7750

The experinen tel dete is presented in Table 2. In the +79 frac-
tion of the rough and clean concentrates, the white fiber balls of —
tremolite separated by gentle screening were found to be 0.32 and 0. 22%
respectively, in comparison to the values of <0.34 and 0. 25% by x-ray
method.

Again the tremolite contents were given in a-renge (max. and min.) —
in Table 2, based on detection limitations of ths method.

3. Comparison of Material for 20 x 65 Circuit
and End Products #4 and #5

The fiber contents in the concentrates of the 20 x 6 cireuit are.
definitely léss than those in the corresponding feeds, and also in line
with the end product #4 composite.

End product. #5 showed quite a high fiber content. (n+-3.5%) and also
& ‘high rock content. For & rough estimate, the unexpanded material in
this :composite is: close to > NO of the total..

OBSERVATIONS and COMMENTS

oa.

2.

In the 8 x 20 circuit and the end product #1 ana-#2, most ‘of the fibers”
present are in heavy bundles. and very small amounts of fine fibers except -
sone adhered to the surface of the vermiculite platiets.

In the 20 x 65 circuit, most of the fibers present are opened fibriis
or smaller bundles. They tend to ball up into small white ‘spheres: while
the sample is being sized by screening.

In the end products #4 and #5, the fibers are too short to form balls

, but are distributed widely throughout the matrix.

From Tables 1 and 2, the concentrates in both circuits showed relatively
less fiber than in the feeds.

The’ expansion of vermiculite followed by flotation is a good methoa for
separating the vermiculite from the rocks and the fiber; and. the fiber
content is then determined by x-rays but the method is good only . when
the vermiculite size is reasonably large (~.70. mesh or larger).

For the small sized vermiculite samples, the tremolite content can 1 be

determined only from the sample directly by x-rays quarititatively.
the need ever came to determine the rock content in the teat elite, ’
chemical delamination method with 15%, LiCl can be employed. ‘The method _

has been described. in a previous report (T&A 48522, 9/22/75).

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Case 01-01139-AMC Doc 4019-8 Filed 07/08/03 Page 5 of 25

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H. c. Duecker .- Libby Ore Evaluation -

“To:
From: Julie C. Yang oo ' Ore Impurities
Feb. 23, 1976
03639754
CONCLUSIONS
1. ‘The ‘possible tremolite content of end products of each size and of concen-
trates from the three circuits are: L
Circuit " Tremolite Contents, percent -
. Range Mean
- Humphrey Sizer 2.70 - 2.72 2.71
8 x 20 , 2
Rough concentrate - (0.21 - 0.71 0.46
Clean concentrate . 0.10 - 0.59 0.35
20 x 65 - oo
' Rough concentrate O.4 - 0.86 0.63
‘Glean concentrate ' 0.74 - 1.20 0.97
End Product
Composites #1 1.67 - 2.17 1.92 .
; , 72 - 5.e2 97°
#4 0.52 -1.00 0.76
#5 3.45 7 3.97 3.71
2. Based on the experimental data, the approximate amount of tremolite present
in tons per day, out cf each of the three circuits, will be as follows:
Total Materials out of, Mean Tremolite Content
Circuit the circuit (tons/dey)” (tons/day)
Humphrey Sizer 220 . 5.96
8 x 20 — 295 «1.16
20 x 65 513 4,10.
%
c based on 22 hours in a day.
3. The fo composite showed the. highest tremolite content (even more so than

#5), and the fibers present are mostly in heavy bundle form, visible to

the eye. This fact is also true for the material in the 8 x 20 circuit

and other coarse end products #1 and #3. The tendency of fiber balling in -
the 20 x 65 circuit shows that the fibers are more opened or in thinner
bundles in addition to some extra fines distributed throughout the end

products #4 and #5, which will lead to the belief that there is some degree
of down screening.

15108605
Case 01-01139-AMC Doc 4019-8 Filed 07 8/03. Page 6 of 25
4 -6-
To: H. C, Duecker . Libby Ore Evaluation -
From:. Julie C. Yang : : Ore Impurities

Feb. 23, 1976
03637752

‘he For quantitative x-ray analysis, the detection limit is about 0.2%. Be-
cause of the variation in x-ray response from sample to sample. (variables
such as orientation, sample thickness, and packing. conditions), the
accuracy of these determinations is approximately +40. 5% of the tremolite
present. Therefore, in Tables 1 and 2, computations showed -the maximum

-.and minimum tremolite ‘content possible tobe Present in the sample.

5. A previous report « on Libby vermiculite and tremolite density determina--
tions (1/13/76) showed an. appreciable density difference between tremolite
(2.92 -3.1) and vermiculite (2.28 - 2.61 depends on the degree weathering) -
and the difference in morphology. Tremolite can be separated from vermicu-
lite ty air elutriation technique based on the. difference in velocity of
particle settling. Meanwhile, the vermiculite plates can be “polished" by
‘yemoving some of the fine dust and fiber adhered to the surface in the air
stream. A separate report will be written to describe the details of that
aspect shortly.

6. The conclusions reached assume the samples are all representative samples
- of the operation. In reality, we know we have considerable variation in
feed quality from minute to minute, hour-to-hour, ‘and certainly from pile-~
to-pile. This experiment should be repeated to obtain & better feel for
this variation. The*sampling technique is probably the most significant
problem in the study. Reasonably good analytical results can be obtained
although very time-consuming. About $2.0M of laboratory time will be re-

quired to repeat this test.
wale Cc. Yang

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Attachments

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Case 01-01139-AMC Doc 4019-8 Filed 07/08/03 Page 7 of 25

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Case 01-01139-AMC Doc 4019-8 Filed 07/08/03 Page 9 of 25

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/-- ——--€e)> sereened plinrt products as control and comparison with (a) & (o}

Case 01-01139- AMC Doc 4019- 8 Filed 07/08/03 Page 10 of 25

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oA MBRIDGE . .
we yt soasave Be
TO: H. C. Duecker , : DATE: - ue February 23, 1976 ~~ (-
FROM: Julie C. Yang : SUBJECT: u Libby Ore Evaluation -

cc: H. A. Brown
J. W. Wolter
R. L. Oliverio/Libby

R. J. Kujawa/Libby
G. G. Vaplon/Libby. |
O. F. Stewart/Enoree _,,

R. H. Locke
EE ee yer’

PURPOSE

The objective ofthis investigation is to determine the tremolite
content for each of the three mill circuits and end products at Libby..-~

SAMPLE SELECTION . oe

Samples have been collected by G. Vaplon:

(a) material which entered the circuit,
(vo) material which came out of the circuit,

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yer
Fourteen materials were received:
(1) Clean Conc; 8 x 20
(2) Rough Conc. 8 x 20
(3) Rough Conc. 20 x 65
(4) Clean Conc.» 20 x 65
(7) Rough Feed 8 x 20
(8) Clean Feed 8 x 20
(9) Rough Feed 20 x 65
(10) Clean Feed 20 x 65
(11) #1 Composite
(12) #2 Composite
(5) #5 Composite
(6) #: Composite
(13) #5 Composite
(14) Humphrey Sizer Concrete 12/3/75 9:00 a.m. Vv

t} Humphrey Sizer

1. Separation

The rock and fiber were separated from the vermiculite plates
- by hand-picking.

2. Method of Analysis .

Each portion has been weighed carefully and then x-rayed for
their mineral content.

Case 01-01139-AMC Doc 4019-8 Filed 07/08/03 Page 11 of 25

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To: H. C. Duecker — SO, _ . Liboy Ore Evaluation -

-. From: Julie C. Yang ot _- Ore Impurities

Feb. 23, 1976
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3. Results and Accuracy

We. % Accuracy 4%
Vermiculite 86.71 86.71

be

te
0.43 approx.
*%

Rock 10.58 10.58 + 0.05 approx.
Tremolite 2.71 2.71 + 0.01
Total 100.00

“the rock content may be higher than the figure show at the
expense of vermiculite, since some of the granules can be classi-
fied as vermiculite fine aggregates (showed vermiculite x-ray
pattern) but may not be expandable as we previously found (report
14/3/75 - Properties of Libby Vermiculite Ore). The fiber portion
showed a good x-ray pattern of pure tremolite with no rock contami-
nations.

II) 8 x 20 Cirewit and End Products #1, 2 & 3
1. Separation

The samples in this group were sized by Ro-Tap screening to +50 and
-50 fractions. 100 gram vermiculite sample was Ro-Tapped for 16 minutes
total, a ten minute increment first,then three 2-min.consecutive intervals
to insure the achievement of constant weights.

Then from the.+50 size fractions, fibers were hand-picked and
weished. The bulk materiols reraining were then chemically expanded with
30% HoO> individually. The light expanded vermiculite thus was separated
from the heavy rocks and fiber bundles by water flotation. Both portions
were collected, dried and weighed, then ground to ~100 mesh and subjected
to x-ray exemination.

2, Method of Analysis _

Tremolite remaining in the samples was determined by quantitative
x-ray. diffraction analysis, and the values were added to those of the
hand-picked tremolite. In quantitative x-ray analysis a calibration
curve was constructed to determine tremolite by adding a known amount of
Libby tremolite (hand-picked from #2 composite, opened and cleaned) to
a hand-picked pure vermiculite sample. The curve was made for determina-
tions up to 10% tremolite.

The total area under the 2G= 23.5° in the diffraction pattern,
the peak responded to the max intensity peak of tremolite, was commuted
for the quantitative studies, and a second peak (height. onty-at_29=

10.5°) was employed as a check for the interference (Figure 1}
Case 01-01139-AMC Doc 4019-8 Filed 07/08/03 Page 12 of 25
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To: H. C. Duecker . _. Libby Ore Evaluation - |

From: ‘Julie C. Yang mo Ore Inpurities
Feb. 23, 1976. on

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3. Result and Accuracy of Analysis

Experimental results are listed in Table lL. Since the detection
limit of tremolite by x-rays is about 0.2% in a specific sample, for
very low concentration occurence tremolite has to be concentrated in
the sample by removing the bulk of vermiculite. Vermiculite can be
removed easily by chemical expansion with 304 Hp02 followed by flota-
tion.

On the chart, three tremolite contents (actually the range) were
given based on the detection Limitations. :

4. Comparison of Material from 8 x 20 Circuit and
Enda Products Composite #1, #2 and 73

The rock content of composites #1. and #2 are in line with those
of the concentrates in the 8 x 20 circuit, but the tremolite contens
in these composites are definitely higher then the concentrates. The
exceptionally high tremolite content is noted in Composite #2. The
fiber contents in the 8 x 20 concentrates are slightly less than those
in the corresponding feeds.

“ 37T) 20 x 65 Circuit and End Products Composites #%+ and #5

1. Separation and Analysis

‘The samples in this group were sized by Ro-Tap sereening to 3
fractions, namely +70, -70 +100 and -100 mesh size using the procedure
described in Section II j.

In the +70 fraction of rough and clean concentrates, the fine
fibers present were balied up to pea-sized white balls, which were
separated by gentle screening. The fiber balls were retained on a 50
mesh screen and weigned. To check the fiber content, the weighed fiber
balls were broken and redistributed in the sample and subjected to
quantitative x-ray Getermination. Since the fiber contents were very
low, vermiculite in these samples were expanded chemically and then
yemoved by flotation prior to x-ray analysis.

{ In the -70 +100 and -100 mesh fractions, tremolite was determined
directly from the sample as received; since the vermiculites present in
these sizes are fairly small, the expansion and flotation will not sep-
arate the material effectively. ,
2. Results and Accuracy

Case 01-01139-AMC Doc 4019-8 Filed 07/08/03 Page 13 of 25

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H. C. Duecker Oo ‘Libby Ore Evaluation: -
julie C. Yang. OY Ore Impurities

Fed. 23, 1976

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The experimental data is presented in Table 2. Im the +76 frac-
tion of the rough and clean concentrates, the white fiber balls of
tremolite separated by gentle screening were found to be 0.32 and 0.22%
respectively, in comparison to the values of <0.34 and 0.25% by x-ray
method.

Again the tremolite contents were given in a range (max. and min.)
in Table 2, based on detection limitations of the method.

3. Comparison of Material for 20 x 55 Circuit
and End Products #4 and #5

The fiber contents in the concentrates of the 20 x 65 circuit are ~
definitely Less than those in the corresponding feeds, and elso in line
with the end product #4 composite.

End product #5 showed quite a high fiber content (~-3.5%) and also
a high rock content. For a rough estimate, the unexpanded material in
this :composite is close to hO% of the total.

‘ OBSERVATIONS and COMMENTS

1.

In the 8 x 20 circuit and the end product #1 and #2, most of the fibers
present are in heavy bundles and very small amounts of fine fibers except
some adhered to the surface of the vermiculite platiets.

In the 20 x 65 circuit, most of the fibers present are opened fibrils
or smaller bundles. They tend to ball up into small white spheres while
the sample is being sized by screening.

In the end products #4 and #5, the fibers are too short to form balls
but are distribute] widely throughout the matrix.

From Tables 1 and 2, the concentrates in both circuits showed relatively
less fiber than in the feeds.

The expansion of vermiculite followed by flotation is a good method for

separating the vermiculite from the rocks and the fiber, and the fiber
content is then determined by x-rays but the method is good only when
the vermiculite size is reasonably large (~ 70 mesh or larger).

For the smail sized vermiculite samples, the tremolite content can be
determined only from the sample directly by x-rays quantitatively. If
the need ever came to determine the rock content in the vermiculite,
chemical delamination method with 15% LiCl can be emplayed. The method _

has been described in e previous report (T&A 48522, 9/12/75).
Case 01-01139-AMC Doc 4019-8 Filed 07/08/03 Page 14 of 25_

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To: H. C. Duecker , Libby Ore Evaluation -

‘From: Julie C. Yang ' - Ore Impurities ~
Feb. 23, 1976 .. oe
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CONCLUSIONS :

1, The possible tremolite content of end products of each size and of concen-

trates from the three circuits ere:

Circuit Tremolite Contents, percent -
Range Nean
Humphrey Sizer 2.70 - 2.72 2.71
8 x 20
Rough concentrate 0.21 - 0.71 0.46
Clean concentrate 0.10 - 0.59 0.35
20x65 |
Rough concentrate o.4 - 0.86 0.63
Clean concentrate o.74 - 1.20 0.97
End Product
- Composites #1 1.67 ~ 2.17 1.92
4.72 - 5.22 4.97
#3 o.41 - 0,89 0.65
#4 0.52 -1.00 0.76
#5 3.45 - 3.97 3.71

Based on the experimental data, the approximate amount of tremolite present
in tons per day, ovt of eask of the three circuits, will be as follows:

Total Materials out of, Mean Tremolite Content

Cirevit the circuit (tons/dey)  . (tons /day)
Humphrey Sizer 220 5.96
8x20 - 295 1.16
20 x 65 513 10

*
based on 22 hours in a day.

The #2 composite showed the highest tremolite content (even more so than
#5), and the fibers present are mostly in heavy bundle form, visible to

the eye. This fact is also true for the material in the 8 x 20 circuit

and other coarse end products #1 and #3. The tendency of fiber balling in
the 20 x 65 circuit shows that the fibers are more opened or in thinner
bundles in addition to some extra fines distributed throughout the end
products #4 and #5, which will lead to the belief that there is some degree

of down screening.
“ho:
From:

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H. C. Duecker . Libby Ore Evaluation -
Julie C. Yang - sO . . Ore Impurities

Feb. 23, 1976 .
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lk. For quantitative x-ray analysis, the detection limit is about 0.2%." Be-

cause of the variation in x-ray response from sample to sample (variables
such as orientation, sample thickness, and packing conditions}, the
accuracy of these determinations is approximately 40.5% of the tremolite
present. Therefore, in Tables 2 and 2, computations showed the maximum
and minimum tremolite content possible tobe present in the sample.

5. <A previous report on Libby vermiculite and tremolite density determina-

tions (1/13/76) showed an appreciable density difference between tremolite
(2.92 -3.1) and vermiculite (2.28 -2.61 depends on the degree weathering) -
and the difference in morphology. Tremolite can be separated from vermicu-
lite by air elutriation technique based on the difference in velocity of
particle settling. Meanwhile, the vermiculite plates can be "polished" by
remaving some of the fine dust and fiber adhered to the surface in the air
stream. A separate report will be written to describe the details of that
aspect shortly.

The conclusions reached assume the samples are all representative samples
of the operation. In reality, we know we have considerable variation in
feed quality from minute to minute, hour-to-hour, and certainly from pile-
to-pile. This experiment should be repeated to obtain a better feel for
this variation. The sampling technique is probably the most significant
problem in the study. Reasonably good analytical results can be obtained
although very time-consuming. About $2.0M of laboratory time will be re-

quired to repeat this test.
Jutie C. Yang” ©

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Attachments
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: CAMBRIDGE. or
Oo 204.5436.
TO: Had. Duecker - DATE:. February 26, 1976
FROM: J. C. Yang SUBUECT: fremolite Fiber Removal

from Libby Vermiculite

ce: H.A.Brown R.L.Oliverio/Libby
R.H.Locke\ — G.G. Vaplon/Libby
J.W.Wolter J.L.Young/Libby
W.L. Baker O.F .Stewart/Enoree

File: 71-048

PURPOSE

The purpose of this study is to seek a feasible method of separation
and subsequent removal of tremolite fibers from vermiculite ore,

BACKGROUND INFORMATION:

Based on previous work on density studies of vermiculites and
tremolites, an appreciable difference between the densities of vermiculites
(2.28 to 2.61 depending upon the degree of weathering) and tremolites (2.93
3.01}. The two groups of substances should be easily separable.

Microscopic examination of the vermiculite plates showed very dusty
surface with either small vermiculite particles or small. fibers adhering
to them (Figure la). The residual amine and/or hydrocarbon from the flo~
tation process form a thin film on the surface of the vermiculite platlets
which may bind the small particles or electrostatic may contribute to the
Phenomenon..

. EXPERIMENTAL -

Attempts were made using various organic solvents to rework the
traces of amine or hydrocarbon but these were not successful. When the
vermiculite plates were dried, the film remained.

ideas were thea conceived to use air elutriation techniques for
separation since the specific gravities and the morphology of vermiculite
and tremolite are very different.

A simple 30" glass column was set up which has a narrow opening at
the: bottom and was connected with the compressed air Line to simlate a
turbulent fluidized bed,

In the column, a heavy metal grid was placed as a support on which
a fine 100 mesh copper screen was placed as shown in the diagram (Figure 2).
When a moderate air pressure was applied, a fine dust cloud could be seen
from the top of the column. The top 325 stainless screen served as a bar-
rier, preventing the large platlets to fly out. One could observe quickly
that only the vermiculite platlets were floating in the middle of the glass.
column when the air pressure was adjusted, Rocks » vermiculite aggregates
and fiber bundles were concentrated on the bottom.
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‘To: 4H. C. Duecker : sO To Tremolite Fiber Reroval

From: Julie C. Yang - - . from Libby Vermiculite |
Feb. 26,. 1976 -

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When the top cover screen was examined microscopically, a large
number of fine vermiculite particles and numerous fine fibers could be
seen on the pores of the screen as shown in Figure 3.

The air floated vermiculite platlets were then collected and a
visible color difference from the original material was noted. All the
surfaces of the air elutriated vermiculite were “polished” in the air
stream with very little dust remaining on the surface. A comparison of
the vermiculite surfaces before and after air elutriation treatment is
shown in Figure 1, photomicrographs la and lb. The air "polished"
vermiculite flakes were transferred to a second air elutriation colum
and the experiment was repeated. The top covering screen was then examined
microscopically and compared with the findings from the previous run. Only
very few vermiculite dust particles were observed in most of the typical
fields under the microscope as shown in Figure 4a, and an occasional field
with some fiber as shown in Figure kb. ‘The loading on the screen from the
second run was very light in comparison with the first run (Figure 3).

OBSERVATIONS and DISCUSSION

1. From the photomicrographs and the laboratory column test, it is
demonstrated that tremolite fibers, vermiculite dusts, uwnexpandabie
vermiculite aggregates, rocks and tremolite fiber bundles cen be
removed from the vermiculite flakes to a great extent by air élutri-
ation technique.

2. The fine fibers and vermiculite dusts are lighter than vermiculite
which can be removed and collected on the top of the column whereas
the rocks, unexpendable vermiculite aggregates and trenolite bundles
can be concentrated on the bottom. With the three zone separation
as shown in Figure 3, an estimate of 80-904 of the trempolite and
other impurities from Libby #2 end product by this treatment.

3. When the “polished” vermiculite collected from the first column and
subject to a secord column or a series of columns, the material will
‘be further purified.

4. Presently we have only worked with Libby 22 composite, since a pre-
vious study (Libby Ore Evaluation - Ore Impurities 2/23/76) showed
#2. has the highest tremolite content of around 5%. For smaller
sizes a fairly efficient removel of impurities is expected but prob-
ably not as ‘spectacular as #2.
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C -3- (
fo: H. C. Duecker , , ‘ Prezolite Fiber Removal

From: Julie C. Yang. from Libby Vermiculite
Feb. 26, 1976

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RECOMMENDATIONS

1. A pilot plant scale air elutriation column. should be designed and
built to test the validity of the proposed method. tc is recom-
- mended to introduce the compressed air stream from a side arm and
design collecting devices for three zones to separate the vermicu-
lite from others.

2. Different grades of end products should be tried in the vilot plant
scale equipment, and the tremolite content of each fraction should
be determined by either quantitative x-ray method or expansion-
flotation methods.

3. If the method proves to be effective, we may be able to remove the
bulk of the loose fiber impurities from vermiculite at the source,
reducing the-need for critical control set-ups and problems at each
tndividual expansion plant or field applicatisn.

h, An invention record is being written for protecting any novel
applications of the method for tremolite removal from vermiculite.

Tees’

dmlie C. Yang
JCY :milr
Attachments
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Figure { MICROS CEP Ie EXAMINATION oF

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